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Proposed Counsel to the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

                                                        )
                                                               Chapter 11
                                                        )
                                                        )
                                                               Case No. 19-76260
                                                        )
                                                               Case No. 19-76263
In re:                                                  )
                                                               Case No. 19-76267
                                                        )
                                                               Case No. 19-76268
Absolut Facilities Management, LLC, et al.              )
                                                               Case No. 19-76269
                                                        )
                                                               Case No. 19-76270
                          Debtors.1                     )
                                                               Case No. 19-76271
                                                        )
                                                               Case No. 19-76272
                                                        )
                                                        )
                                                               (Joint Administration Requested)
                                                        )

    NOTICE OF AGENDA FOR HEARING ON SEPTEMBER 12, 2019 AT 2:00 P.M.
 (EASTERN TIME), BEFORE THE HONORABLE ALAN S. TRUST AT THE UNITED
  STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF NEW YORK,
 AT COURTROOM 960, 290 FEDERAL PLAZA, CENTRAL ISLIP, NEW YORK, 11722




           1
             The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and
Rehabilitation at Allegany, LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC (8266);
Absolut Center for Nursing and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641);
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and
Rehabilitation at Three Rivers, LLC (8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC
(7924).



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I.         First Day Matters

1.     Motion for Order Authorizing and Directing Joint Administration and Use of Consolidated
Caption (Dkt. No. 2)

     Related Documents:

             A. Declaration of Michael Wyse (Dkt. No. 15)
             B. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

     Status: This matter is going forward.

2.      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
Postpetition Financing; (II) Granting Liens and Superpriority Claims to Postpetition Lender; and
(III) Scheduling Final Hearing (Dkt. No. 4)

     Related Documents:

             A. Declaration of Michael Wyse (Dkt. No. 15)
             B. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

     Status: This matter is going forward.

3.      Debtors’ Emergency Motion for Order Under 11 U.S.C. §§ 105(a) and 366 (I) Prohibiting
Utility Companies from Altering or Discontinuing Service on Account of Prepetition Invoices, (II)
Approving Deposit Account As Adequate Assurance of Payment, and (III) Establishing
Procedures for Resolving Requests By Utility Companies for Additional Assurance of Payment
(Dkt. No. 5)

     Related Documents:

             A. Declaration of Michael Wyse (Dkt. No. 15)
             B. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

     Status: This matter is going forward.

4.      Debtors’ Emergency Motion to (I) File A Consolidated List of Creditors, (II) File A
Consolidated List of the Thirty Largest Unsecured Creditors, (III) Redact Certain Personal
Identification Information of Individual Creditors and Current and Former Employees; and (IV)
Mail Initial Notices (Dkt. No. 7)

     Related Documents:

             A. List of Creditors (Dkt. No. 3)
             B. Declaration of Michael Wyse (Dkt. No. 15)
             C. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

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           D. Verification of List of Creditors (Dkt. No. 23)

    Status: This matter is going forward.

5.     Debtors’ Emergency Motion (I) for Authority to File Under Seal Separate Schedule F and
Matrix Containing Patient Information, (II) to Authorize Certain Procedures to Maintain the
Confidentiality of Patient Information, (III) to Modify Notice to Patients, and (IV) for Relief from
Required Form of Mailing Matrix with Regard to Separate Matrix (Dkt. No. 8)

    Related Documents:

           A. Declaration of Michael Wyse (Dkt. No. 15)
           B. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

    Status: This matter is going forward.

6.     Debtors’ Emergency Motion for Entry of Interim and Final Orders Authorizing the Debtors
to Pay Certain Prepetition Claims of Critical Vendors (Dkt. No. 10)

    Related Documents:

           A.   Declaration of Michael Wyse (Dkt. No. 15)
           B.   Debtors’ Emergency Motion to Redact Critical Vendors Motion (Dkt. No. 18)
           C.   Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)
           D.   Order Sealing Critical Vendors Motion (Dkt. No. 22)
           E.   Redacted Version of the Critical Vendors Motion (Dkt. No. 24)

    Status: This matter is going forward.

7.     Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing the Debtors to
(A) Continue Using their Cash Management System and (B) Maintain Existing Bank Accounts
and Business Forms; (II) Waiving Certain Deposit Guidelines and (III) Granting Related Relief
(Dkt. No. 11)

    Related Documents:

           A. Declaration of Michael Wyse (Dkt. No. 15)
           B. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

    Status: This matter is going forward.

8.     Motion for Entry of An Order (I) Authorizing the Debtors to (A) Continue Insurance
Coverage Entered Into Prepetition, (B) Pay and Satisfy Prepetition Obligations Related thereto,
Including Broker Fees and Premium Financing Obligations; and (II) Granting Related Relief (Dkt.
No. 12)



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    Related Documents:

             A. Declaration of Michael Wyse (Dkt. No. 15)
             B. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

    Status: This matter is going forward.

9.      Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing, But Not
Directing, Debtors to (A) Pay and Honor Prepetition Employee Obligations, and (B) Maintain and
Continue Certain Compensation and Benefit Programs Postpetition; and (II) Granting Related
Relief (Dkt. No. 13)

    Related Documents:

             A. Declaration of Michael Wyse (Dkt. No. 15)
             B. Letter from Schuyler Carroll Providing Notice of First Day Hearing (Dkt. No. 21)

    Status: This matter is going forward.


Dated:     September 12, 2019                       LOEB & LOEB LLP
           New York, New York
                                                    /s/ Daniel B. Besikof

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